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      Attachment 3
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§ 734.7 Published., 15 C.F.R. § 734.7




  Code of Federal Regulations
    Title 15. Commerce and Foreign Trade
      Subtitle B. Regulations Relating to Commerce and Foreign Trade
         Chapter VII. Bureau of Industry and Security, Department of Commerce (Refs & Annos)
            Subchapter C. Export Administration Regulations
              Part 734. Scope of the Export Administration Regulations (Refs & Annos)


                                                      15 C.F.R. § 734.7

                                                     § 734.7 Published.

                                               Effective: September 20, 2016
                                                           Currentness




(a) Except as set forth in paragraph (b) and (c) of this section, unclassified “technology” or “software” is “published,” and is
thus not “technology” or “software” subject to the EAR, when it has been made available to the public without restrictions
upon its further dissemination such as through any of the following:



     (1) Subscriptions available without restriction to any individual who desires to obtain or purchase the published
     information;



     (2) Libraries or other public collections that are open and available to the public, and from which the public can obtain
     tangible or intangible documents;



     (3) Unlimited distribution at a conference, meeting, seminar, trade show, or exhibition, generally accessible to the
     interested public;



     (4) Public dissemination (i.e., unlimited distribution) in any form (e.g., not necessarily in published form), including
     posting on the Internet on sites available to the public; or



     (5) Submission of a written composition, manuscript, presentation, computer-readable dataset, formula, imagery,
     algorithms, or some other representation of knowledge with the intention that such information will be made publicly
     available if accepted for publication or presentation:



     (i) To domestic or foreign co-authors, editors, or reviewers of journals, magazines, newspapers or trade publications;


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    (ii) To researchers conducting fundamental research; or



    (iii) To organizers of open conferences or other open gatherings.



(b) Published encryption software classified under ECCN 5D002 remains subject to the EAR unless it is publicly available
encryption object code software classified under ECCN 5D002 and the corresponding source code meets the criteria specified
in § 742.15(b) of the EAR.



(c) The following remains subject to the EAR: “software” or “technology” for the production of a firearm, or firearm frame
or receiver, controlled under ECCN 0A501, that is made available by posting on the internet in an electronic format, such as
AMF or G-code, and is ready for insertion into a computer numerically controlled machine tool, additive manufacturing
equipment, or any other equipment that makes use of the “software” or “technology” to produce the firearm frame or receiver
or complete firearm.



Credits

[61 FR 65464, Dec. 13, 1996; 61 FR 68578, Dec. 30, 1996; 65 FR 2496, Jan. 14, 2000; 67 FR 38861, June 6, 2002; 76 FR
1062, Jan. 7, 2011; 81 FR 35602, June 3, 2016; 81 FR 64668, Sept. 20, 2016]



AUTHORITY: 50 U.S.C. 4801–4852; 50 U.S.C. 4601 et seq.; 50 U.S.C. 1701 et seq.; E.O. 12938, 59 FR 59099, 3 CFR,
1994 Comp., p. 950; E.O. 13020, 61 FR 54079, 3 CFR, 1996 Comp., p. 219; E.O. 13026, 61 FR 58767, 3 CFR, 1996 Comp.,
p. 228; E.O. 13222, 66 FR 44025, 3 CFR, 2001 Comp., p. 783; E.O. 13637, 78 FR 16129, 3 CFR, 2014 Comp., p. 223;
Notice of November 8, 2018, 83 FR 56253 (November 9, 2018).


Notes of Decisions (13)



Current through December 5, 2019; 84 FR 66812.
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